                                                                          Case 4:21-cv-05647-YGR Document 15 Filed 10/13/21 Page 1 of 1




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                                                                  3                                      UNITED STATES DISTRICT COURT
                                                                  4                                    NORTHERN DISTRICT OF CALIFORNIA
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                                                                  7   CHRIS LANGER,                                       Case No. 4:21-CV-5647-YGR
                                                                  8                Plaintiff,                             ORDER OF DISMISSAL UPON SETTLEMENT
                                                                  9          vs.                                          Re: Dkt. No. 14
                                                                 10   THE CULINARY INSTITUTE OF AMERICA,
                                                                 11                 Defendant.
                                                                 12
                               Northern District of California
United States District Court




                                                                 13          Plaintiff has filed a notice of settlement and request to vacate all currently set dates. (Dkt. No.
                                                                 14   14.) Accordingly, it is ORDERED that this case is DISMISSED. It is further ORDERED that if any party
                                                                 15   certifies to this Court, with proper notice to opposing counsel within seventy-five (75) days from the
                                                                 16   date below, that settlement has not in fact occurred, this order shall be vacated and this case shall be
                                                                 17   restored to the calendar for further proceedings.
                                                                 18          This Order terminates the case.
                                                                 19          IT IS SO ORDERED.
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                                                                      Dated: October 13, 2021
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                                                                                                                            ____________________________________
                                                                 22                                                             YVONNE GONZALEZ ROGERS
                                                                                                                            UNITED STATES DISTRICT COURT JUDGE
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